491 F.2d 1275
    UNITED STATES of America ex rel. Clarence JONES, Petitioner-Appellant,v.The Honorable Leon J. VINCENT, Superintendent, Green HavenCorrectionalFacility, Stormville, New York,Respondent-Appellee.
    No. 443, Docket 73-2074.
    United States Court of Appeals, Second Circuit.
    Argued Jan. 31, 1974.Decided Feb. 6, 1974.
    
      Sheila Ginsberg, New York City (Robert Kasanof, The Legal Aid Society, New York City), for petitioner-appellant.
      Arlene R. Silverman, Asst. Atty. Gen.  (Louis J. Lefkowitz, Atty. Gen., of N.Y., Samuel A. Hirshowitz, First Asst. Atty. Gen., of counsel), for respondent-appellee.
      Before WATERMAN and MULLIGAN, Circuit Judges and BRYAN,1 District judge
      PER CURIAM:
    
    
      1
      This is an appeal from an order of the United States District Court, Hon.  Jacob Mishler, Chief Judge, Eastern District of New York, dated July 18, 1973, denying petitioner's application for a writ of habeas corpus.  Affirmed.
    
    
      2
      Petitioner, who is presently on parole from Green Haven Correctional Facility, was convicted in the Supreme Court, Kings County, on July 11, 1967, for the crime of manslaughter in the first degree.  That conviction was affirmed by the Appellate Division, 32 A.D.2d 1069, 303 N.Y.S.2d 921 (2d Dep't 1969), with one judge dissenting.  The New York Court of Appeals affirmed without opinion, 27 N.Y.2d 501, 312 N.Y.S.2d 677, 260 N.E.2d 870 (1970).  The United States Supreme Court denied certiorari, 400 U.S. 994, 91 S.Ct. 466, 27 L.Ed.2d 443 (1971).
    
    
      3
      The principal argument here of the petitioner is that he was denied his Sixth and Fourteenth Amendment rights to the effective assistance of counsel.  The facts upon which this argument is presented are set forth in the opinion of the district court.  We affirm on the opinion below.  Although we find that the defendant's trial counsel may have failed to conduct the perfect trial, a review of the trial record indicates that the defense afforded to the petitioner was not so inadequate as to shock the conscience of the court or to make the proceeding either a farce or a mockery of justice, United States ex rel. Curtis v. Zelker, 466 F.2d 1092, 1101 (2d Cir. 1972) cert. denied, 410 U.S. 945, 93 S.Ct. 1405, 35 L.Ed.2d 612 (1973).
    
    
      
        1
         Honorable Frederick van Pelt Bryan, United States District Court for the Southern District of New York, sitting by designation
      
    
    